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UNITED STATES DISTRICT COURT                               ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                              DOC #: _ _ _ _--r.,..._.,--
REALLY GOOD STUFF ,     LLC ,                              DA TE FILED:--:     ///6/zo
                                Plaintiff ,

                 - against -                        19 Civ . 2218      (LLS)

BAP INVESTORS , L . C . and CREATIVE             MEMORANDUM AND ORDER
KIDS FAR EAST INC .,
                            Defendants.

      Defendants seek to recover a total of $520 , 223 . 49 in

damages against the $600 , 000 bond posted by plaintiff in

accordance with the Court ' s December 10 , 2019 order . That is

composed of $101 , 944 . 83 in profits for lost sales of wrongfully

enjoined products , $260 , 000 . 00 in profits for lost sales of non -

enjoined products , and $158 , 278.66 in costs of complying with

the injunction .

      For the reasons stated below , if their figures survive

discovery and cross-examination at trial , defendants may recover

a total of $243 , 166 . 01 .

                           Applicable Principles

      Although we hold that a wrongfully enjoined party is entitled
      to a presumption in favor of recovery , that party is not
      automatically entitled to the damages sought . The presumption
      applies    to   "provable"   damages. Global  NAPs , 489  F.3d at
      23 ; Nintendo , 16 F . 3d at 1036 . Thus, the wrongfully enjoined
      party must first demonstrate that the damages sought were
      proximately caused by the wrongful injunction. See Blumenthal,
      910 F . 2d at 1056 ("[Wrongfully enjoined parties] are entitled
      to damages as may be shown to have been proximately caused by
      the injunction , up to the amount of the bond." (citation
      omitted) ) ; see also Nintendo , 16 F. 3d at 1038 ( requiring that
      party seeking recovery "establish[ ] with reasonable certainty
      that it was damaged by the issuance of the injunction" (emphasis


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        added)). The wrongfully enjoined party must also properly
        substantiate the damages sought. However, the party's proof of
        damages "d[oes] not need to be to a mathematical certainty."
        Global NAPS, 489 F.3d at 24.

Nokia Corp. v.        InterDigital,      Inc.,   645 F.3d 553, 559   (2d Cir.

2011) (all brackets, emphases, parentheticals and edits as in

Nokia).

                                           1.

        Defendants claim that when the injunction went into effect

they had nine product lines in their inventory, which held

30,272 units that RGS did not seek to purchase but that

defendants were enjoined from selling.                See Oprins Deel.      (Dkt.

No. 148)    'JI 10.    They claim a total of $101,944.83 in lost

profits on the forbidden sales of those units.                Id. 'JI 12.

        Plaintiff argues that defendants cannot claim lost profits

on the Released Units because defendants are now free to sell

them.     Nevertheless, the Court does not go beyond the first step

and inquire into later events which might repair their losses

through other means. See Hanover Shoe,               Inc. v . United Shoe Mach.

Corp.,    392 U.S.     481,   490, n.8    (1968) .

        Because defendants were wrongfully enjoined from selling

"units    (beyond the numbers RGS sought to purchase) of any

product lines from which RGS sought to purchase less than all of

the inventory," 0kt. No. 121 at 3, defendants are entitled to

recover $101,944.83 in profits for lost sales of the 30,272




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enjoined units .

                                     2.

     Defendants also seek $260 , 000 in profits from lost sales of

products which were not enjoined , but were free to be sold.

They assert that "the order volume for BAP ' s products

precipitously dropped as soon as the injunction took effect,

including orders for products that were not enjoined ."              Defs .

Br . at 11.

     Defendants argue that because customers could not include

the enjoined products in their orders for non-enjoined products,

their orders were reduced below the minimum size required to

obtain free freight shipping , so customers "often chose not to

place an order that would have otherwise included the Wrongfully

Enjoined Products ."    Oprins Deel .       ~   33.   Defendants also argue

that the injunction "scared off" many customers who "expressed

great confusion about where to purchase products              ( including non -

enjoined products) that used the Marks - At-Issue" and "questioned

BAP's ability to fill orders for such products in view of the

injunction ."   Defs . Br . at 12.

     But customer confusion about what products were enjoined

would extend equally to the products whose sales were properly

enjoined . The number of sales lost because of non - combination

with wrongfully enjoined products is speculative . The source of

the confusion was the injunction, whose terms were predominantly


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affirmed and are still in effect . 1 See B. G. Soft Ltd . v . BG Soft

Int ' l , Inc ., No . CV - 01 - 17 (RR)   (VVP) , 2002 WL 1467744 , at *2

(E . D. N. Y. Apr . 29 , 2002)    (" the damages award is limited to those

damages arising from the operation of the injunction itself and

not from damages occasioned by the suit independently of the

injunction .          Although damages need not be proved with

mathematical certainty , they cannot be speculative . ")            (citation

and internal quotation marks omitted) (quoting Medafrica Line ,

S . P . A . v . American West African Freight Conference , 654 F . Supp .

155 , 156 (S . D. N. Y.1987)) .

      Accordingly , defendants cannot recover damages for

diminished sales of non - enjoined products .

                                          3.

      Defendants also argue that they are entitled to recover

$158 , 278 . 66 for costs they incurred to comply with the

injunction .

      First , they claim that they spent $141 , 221 . 18 to develop ,

manufacture , and market new products in place of the wrongfully

enjoined products they could not sell , such as Snow Pets ,

Rainbow Snow , and Shocking Science.             Specifically , BAP claims it

spent $3 , 600 to develop the Snow Pets name and logo , $865 . 35 in


1 Defendants are still enjoined from selling the number of units of products

that RGS sought to purchase from BAP ' s remaining inventory , from
manufacturing and selling Instant Amazing Snow products and "s tocking
stuffer" Insta - Snow products , and from using any of RGS ' marks in advertising
and promotional materials.


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$87 , 546 . 75 to market and manufacture Snow Pets , $3 , 600 to

develop the Rainbow Snow name and logo, $24 , 637.56 to market and

manufacture Rainbow Snow , $4 , 800 to develop the Shocking Science

product , and $16 , 171 . 52 to market and manufacture Shocking

Science .     Oprins Deel . 11 49 - 55 .

        Defendants '   costs to develop , market , and manufacture

products to replace the wrongfully enjoined products were

proximately caused by the vacated part of the injunction , and

were included in the Court ' s December 10 , 2019 order requiring

RGS to post the bond .       Thus , defendants are entitled to recover

$141,221.18 in costs to create the replacement products .

        Second, defendants claim that they spent an additional

$17 , 057 . 48 on outside counsel to ensure that they were "taking

appropriate steps to comply with the injunction ."           Defs . Br . at

10 .    That work includes "legal research on compliance issues,

determining scope of the injunction , ability to sell products in

foreign jurisdictions , and reviewing products to confirm that

they comply with the injunction ."           Oprins Deel. 1 56.   Those

fees and expenses are a result of the injunction as a whole ,

including the parts that are still in effect .           Defendants are

not entitled to recover legal fees and expenses associated with

compliance with the injunction , and they do not identify other

costs of compliance proximately caused by their inability to

sell the wrongfully enjoined products .


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                                CONCLUSION

       All else being equal , defendants ' motion to recover damages

from the injunction bond (Dkt . No. 140) would be granted in part

as such : defendants would be entitled to recover $101 , 944 . 83 in

pro f its for lost sales of the enjoined units and $141 , 221 . 18 in

co s ts to create replacement products , for a total amount of

$243 , 166.01.

       But all things are not equal . Plaintiff claims that some of

the data proffered by defendants conflicts with what defendants

have stated elsewhere , that none of it can be taken at face

value , and that plaintiff has not yet had the benefit of

discovery into defendants ' proposed calculations . Pl . Opp ' n Br .

at 7, n . 5. These matters can be examined and resolved in the

processes of discovery and trial .

       In light of the forgoing , and as a matter of sound

administration , the final determination of the defendants '

recovery of injuries from the erroneous injunction against sales

of certain products beyond the amounts plaintiff sought to

purchase will be deferred until trial of the whole case .

       So ordered.

Da t ed :   New York , New York
            November   b, 2020


                                            LOUIS L. STANTON
                                                U. S . D. J .



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